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                     ,VXEPLWWKLVGHFODUDWLRQLQVXSSRUWRIDebtors’ Motion to Transfer Venue

 Pursuant to 28 U.S.C. § 1412 and Federal Rule of Bankruptcy Procedure 1014(a) WKH
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 ³0RWLRQ´  ([FHSWDVRWKHUZLVHQRWHG,KDYHSHUVRQDONQRZOHGJHRIWKHPDWWHUVVHWIRUWK

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                     ,DPWKH0DQDJLQJPHPEHURI-)DQHOOL3URSHUWLHV//&DQGWKH&KLHI

 5HVWUXFWXULQJ2IILFHURI,GHDO3URSHUWLHV//& ³,GHDO´ DGHEWRULQSRVVHVVLRQLQ&KDSWHU

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              ,GHDOLVLQFRUSRUDWHGDQGKHDGTXDUWHUHGLQ:DVKLQJWRQ,GHDO¶VSULQFLSDOSODFHRI

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              'HEWRUVDQG,GHDOKDYHRYHUODSSLQJFUHGLWRUVUHODWHGEXVLQHVVHVHQWDQJOHGERRNV

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              'HEWRUVDUHWKHSULPDU\WHQDQWXQGHUQXPHURXVOHDVHVIRU,GHDO¶VUHDOSURSHUWLHV

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 LQWZRMXULVGLFWLRQVDQGWKHULVNRILQFRQVLVWHQWUXOLQJVSUHVHUYHFRXUWUHVRXUFHVDQGOLPLWWKH

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